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Bethany P. Recht (admitted pro hac vice)                Hearing date: To Be Determined
Keating Muething and Klekamp, PLL
One East Fourth St.
Suite 1400
Cincinnati, Ohio 45202
Phone: (513) 579-6408
Fax: (513) 579-6457
BRecht@KMKLAW.com
Attorney for Tronox Incorporated Tort Claims Trust


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE:                                   )     Bank. Case No. 09-10156 (ALG)
      TRONOX INCORPORATED, et al., )           (Jointly Administered)
____________________________________ )
                   Debtors.              )
                                         )
TRONOX INCORPORATED, TRONOX              )     Adversary Proceeding
WORLDWIDE LLC f/k/a Kerr-McGee           )     No. 09-01198 (ALG)
Chemical Worldwide LLC, and TRONOX       )
LLC f/k/a Kerr-McGee Chemical LLC,       )
                                         )
                   Plaintiffs,           )
                                         )
      -against-                          )
                                         )
ANADARKO PETROLEUM                       )
CORPORATION, et al.,                     )
                                         )
                   Defendants.           )
____________________________________ )
THE UNITED STATES OF AMERICA,            )
                                         )
                   Plaintiff-Intervenor, )
                                         )
      -against-                          )
                                         )
TRONOX, INC., TRONOX WORLDWIDE )
LLC, TRONOX LLC, KERR-MCGEE              )
CORPORATION, and ANADARKO                )
PETROLEUM CORPORATION,                   )
                                         )
                   Defendants            )
____________________________________ )
                                         )
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     STATEMENT OF THE TRONOX INCORPORATED TORT CLAIMS TRUST IN
    SUPPORT OF THE ANADARKO LITIGATION TRUST'S MOTION FOR PARTIAL
    SUMMARY JUDGMENT REGARDING THE LITIGATION TRUST'S RECOVERY
             UNDER SECTION 550(A) OF THE BANKRUPTCY CODE

        The Tronox Incorporated Tort Claims Trust (“Tort Claims Trust”) fully supports the

Anadarko Litigation Trust’s (“Litigation Trust”) motion for partial summary judgment (and the

United States’ joinder thereto) seeking a ruling rejecting the “damages cap” proposed by

Defendants Anadarko Petroleum Corporation, et al. (collectively, “Anadarko”).1

        Anadarko’s contention that the Litigation Trust’s recovery should be capped in the

amount of unpaid creditor claims should be rejected. The Tort Claims Trust agrees with the

Litigation Trust and the United States that Anadarko’s request to cap damages lacks any basis in

law and contradicts the terms of the confirmed Plan and the Tort Claims Trust Agreement.

Capping damages payable to the Litigation Trust impairs the consideration that Holders of

Allowed Tort Claims bargained to receive in exchange for releasing their claims against Tronox.

        The Tort Claims Trust was established to settle the liabilities of the Tronox debtors in this

action and to compensate the Holders of Allowed Tort Claims. The Holders of Allowed Tort

Claims are individuals who have sustained serious, life-threatening personal injuries (many of

which proved fatal) or substantial property damage from the pollution and improper activities of

Tronox’s predecessor, Kerr-McGee Corporation (“Kerr-McGee”). As other parties have

established, the settlement was imperative to the Court’s approval of the Plan and to Tronox’s

emergence from bankruptcy.




1
 Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in Tronox Incorporated
Tort Claims Trust Agreement (“Tort Claims Trust Agreement”), the Tronox Incorporated Tort Claims Trust
Distribution Procedures (the “TDPs”), and the First Amended Joint Plan of Reorganization of Tronox Incorporated
et al. pursuant to Chapter 11 of the Bankruptcy Code (the “Plan”).


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       The Holders of Allowed Tort Claims number in the thousands, and they have sustained

more than an estimated $2 billion in damages from Kerr McGee’s pollution and misconduct.

They include:

           •    Individuals who sustained serious, life-threatening and/or fatal personal injuries

                caused by Kerr-McGee’s improper discharge of creosote and other hazardous

                chemicals at its former production facilities, including its wood treating site in

                Avoca, Pennsylvania.

           •    Individuals seeking compensation for substantial private property damage,

                environmental contamination, remediation, restoration, radiation, or other matters

                on private property caused by the improper release by Kerr-McGee or resulting

                exposure to creosote, benzene, or other chemicals.

           •    Private parties who have claims against Kerr-McGee for breach of contract,

                indemnification, contribution, reimbursement, or cost recovery related to

                environmental monitoring or remediation, including individuals involved in the

                investigation and resulting clean-up of contamination at former Kerr-McGee sites.

           •    Individuals asserting claims for personal physical injury or death caused by

                asbestos-related diseases resulting from exposure to products or toxins

                manufactured or disposed by Kerr-McGee.

       In exchange for releasing their resulting claims against Tronox, the Holders of Allowed

Tort Claims agreed to accept claims against the three assets transferred to the Tort Claims Trust

under the Plan. Those assets are (1) $12.5 million in cash, (2) an assignment of Tronox’s

interests in certain insurance assets, which have come to be worth approximately $5 million, and

(3) most importantly, a 12% interest in this litigation. These assets are the only source of



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compensation for the tort claimants. Although there was risk in accepting the litigation interest,

given the potential that the Litigation Trust might not prevail and the small size of the other two

assets in comparison to the claims, the tort claimants nevertheless agreed to accept it because a

share of the total litigation proceeds provided the greatest chance to fairly compensate the

individuals harmed or killed by Kerr-McGee’s tortious conduct. Indeed, without the litigation

proceeds, the tort claimants will only recover an average of less than 1% of the value of their

claims. It would be fundamentally unfair and contrary to the agreement reached among the Tort

Claims Trust, the Debtors, and Tronox’s other stakeholders to now limit the Tort Claims Trust’s

recovery to an amount that approximates the recovery received by other creditors that did not

take the risks inherent in receiving consideration in the form of a contingent asset.

       In sum, the Tort Claims Trust was designed to properly compensate the expansive,

varying, and particularly devastating injuries to individual claimants affected by Tronox and its

predecessors’ operations. Accordingly, the Plan recognized the importance of the proceeds of

the Litigation Trust as an asset to the Tort Claims Trust to be used to compensate these

individuals. Although the interest in the proceeds to the Litigation Trust was a contingent asset,

it was clearly and purposefully bargained for in settlement decisions. The Holders of Allowed

Tort Claims surrendered their right to pursue claims against Tronox with the understanding that

the proceeds from this litigation, if successful, would be an asset used to pay their claims.

Changing the terms of the settlement and Plan at this juncture would deprive these individuals of

access to a significant asset, one for which they expressly bargained. In fact, it causes the

holders of tort claims to forfeit the most important part of their bargain with no coinciding

compensating benefit.




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       For the reasons stated above and the reasons contained in the Litigation Trust’s motion

and the motion of the United States, the Tort Claims Trust respectfully requests that Court grant

the Litigation Trust’s Motion, reject Defendants’ proposed damages cap, and reaffirm the terms

of the Plan and settlement agreements.



                                                    Respectfully submitted,


                                                    /s/ Bethany P. Recht
                                                    Bethany P. Recht (admitted pro hac vice)
                                                    One East Fourth St.
                                                    Suite 1400
                                                    Cincinnati, Ohio 45202
                                                    Phone: (513) 579-6408
                                                    Fax: (513) 579-6457
                                                    BRecht@KMKLAW.com
                                                    Attorney for Creditor,
                                                    Tronox Incorporated Tort Claims Trust

OF COUNSEL:
KEATING MUETHING & KLEKAMP PLL
One East Fourth Street
Suite 1400
Cincinnati, Ohio 45202
(513) 579-6400
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                            CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing STATEMENT OF THE
TRONOX INCORPORATED TORT CLAIMS TRUST IN SUPPORT OF THE ANADARKO
LITIGATION TRUST'S MOTION FOR PARTIAL SUMMARY JUDGMENT REGARDING
THE LITIGATION TRUST'S RECOVERY UNDER SECTION 550(A) OF THE
BANKRUPTCY CODE was served this 26th day of September, 2011 via the Court’s CM/ECF
system and by ordinary U.S. Mail on the following parties:

                                Melanie Gray
                                Jason W. Billeck
                                Weil, Gotshal & Manges LLP
                                700 Louisiana, Suite 1600
                                Houston, TX 77002

                                Robert William Yalen
                                Assistant United States Attorney
                                86 Chambers Street
                                New York, NY 10007

                                David J. Zott, P.C.
                                Jeffrey J. Zeiger
                                Kirkland & Ellis, LLp
                                300 North LaSalle
                                Chicago, IL 60654

                                              /s/ Bethany P. Recht
                                              Bethany P. Recht


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